
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 95-1266

                             EFRAIN RIVERA-VEGA, ET AL.,

                               Plaintiffs - Appellees,

                                          v.

                                CONAGRA, INC., ET AL.,

                               Defendants - Appellants.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                   [Hon. Daniel R. Dom nguez, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                          Boudin and Stahl, Circuit Judges.
                                            ______________

                                _____________________

               Roger J.  Miller, with whom McGrath, North,  Mullin &amp; Kratz,
               ________________            ________________________________
          P.C., Angel Mu oz-Noya and Lespier &amp; Mu oz-Noya were on brief for
          ____  ________________     ____________________
          appellants.
               Robert Tendrich, Attorney,  National Labor Relations  Board,
               _______________
          with  whom Frederick  L. Feinstein,  General Counsel,  Mary Joyce
                     _______________________                     __________
          Carlson,  Deputy  General  Counsel,  Barry  J.   Kearney,  Acting
          _______                              ___________________
          Associate General  Counsel, Ellen  A. Farrell,  Assistant General
                                      _________________
          Counsel,  and    Corinna  L. Metcalf,  Deputy  Assistant  General
                           ___________________
          Counsel,  National  Labor  Relations  Board, were  on  brief  for
          appellees.



                                 ____________________

                                  November 21, 1995
                                 ____________________















                    TORRUELLA,  Chief  Judge.    The  respondent  companies
                    TORRUELLA,  Chief  Judge.
                                ____________

          appeal  an  Order  of   the  district  court  granting  temporary

          injunctive relief to the Regional Director of the  National Labor

          Relations Board  under    10(j) of  the National Labor  Relations

          Act.  The district  court found reasonable cause to  believe that

          the respondents  violated their duty to bargain in  good faith by

          refusing  to  provide  the   bargaining  representative  of   its

          employees   with   requested   financial   documents.       Based

          substantially  on this  violation,  the district  court issued  a

          preliminary injunction.  Finding neither clear error nor abuse of

          discretion, we affirm.

                                          I.
                                          I.

                                      BACKGROUND
                                      BACKGROUND
                                      __________

                    Molinos de Puerto Rico, Inc. ("MPR") is  a wholly owned

          subsidiary of  ConAgra, Inc. (collectively,  the "respondents").1

          MPR maintains three production facilities in Puerto Rico where it

          mills,  sells and distributes wheat, corn flour, and animal feed.

          In June  1993, Congreso  de Uniones  Industriales de  Puerto Rico

          ("the union") and  the respondents began  negotiations for a  new

          collective  bargaining agreement, covering unit employees at MPR,

          to replace  an existing agreement, which  was nearing expiration.

                              
          ____________________

          1  The district court found reasonable cause to believe that  the
          two corporate entities  are "joint employers"  in the context  of
          labor relations.  As discussed infra, this finding is not clearly
                                         _____
          erroneous and is,  accordingly, affirmed.  We  therefore refer to
          the  two companies jointly as  the respondents.   In addition, we
          note that the district court's finding of joint employers applies
          to ConAgra, Inc., and/or Conagra Grain Processing Companies, Inc.
          For convenience sake only, we refer simply to "ConAgra."   

                                         -2-














          The  parties soon  became involved  in a  dispute over  wages and

          benefits  -- respondents wanted to cut them, and the union sought

          increases.    On several  occasions,  the  union requested  MPR's

          audited financial statements  for the past five years to evaluate

          respondent's bargaining position.  Respondents repeatedly refused

          to provide  the requested information,  and after four  months of

          bargaining  and 18  bargaining sessions,  declared an  impasse on

          October  28, 1993.  On October 29, respondents informed the union

          that forty  employees would  be  laid off  on November  1st.   On

          November 1st, respondents locked  out employees reporting to work

          at MPR.   Respondents subsequently hired  replacement workers and

          continued operations.2

                    The union  filed an  unfair labor practice  charge with

          the National Labor Relations Board (the "NLRB").  The NLRB issued

          an  unfair labor  practice  complaint on  March  25, 1994,  which

          charged  that the  respondents, as  joint employers,  violated   

          8(a)(1), (3) and  (5) of  the National Labor  Relations Act  (the

          "NLRA"), 29 U.S.C.     158(a)(1),(3), by, inter  alia, failing to
                                                    _____  ____

          bargain in good  faith when it refused to provide  the union with

                              
          ____________________

          2  Respondents  argued to the district court that the lockout was
          implemented  in lieu of the  lay-off, and that  the lay-off never
          occurred.    The district  court  appears to  have  rejected this
          argument:  "The problem with this theory  is that at no time have
          Respondents stated to the Union that the  lay-off contemplated in
          the  implementation  of their  final  offer has  been  set aside.
          Thus,  the number of employees  in the unit  remains currently at
          minus  forty  employees."   We find  the  record unclear  on this
          question.  Because  resolution of this  issue is unnecessary  for
          purposes  of  our  decision,  we  consider  only  the  fact  that
          respondents announced the lay-offs,  and not whether the lay-offs
          were actually implemented.

                                         -3-














          the  requested financial  information, unilaterally  changing the

          terms and  conditions of  employment before impasse  was reached,

          unlawfully laying  off 40 employees,  and imposing a  lockout and

          replacing employees with temporary employees to compel acceptance

          of its bargaining position.  An administrative  law judge ("ALJ")

          conducted a  hearing on the matter  from May 9 to 13,  1994.3  On

          June  10,  1994, the  NLRB petitioned  the  district court  for a

          temporary  injunction pursuant to  section 10(j) of  the NLRA, 29

          U.S.C.   160(j).

                    After   a   hearing,  the   district  court   issued  a

          comprehensive and  detailed opinion in which  it found reasonable

          cause to  believe, inter alia,  that:   (1) respondents  violated
                             _____ ____

             8(a)(1) and (5) by refusing to provide the requested financial

          information  to  the  union;  (2)  the  refusal  to  furnish  the

          financial  statements precluded  valid  impasse; (3)  respondents

          violated   8(a)(5) by making unilateral changes  in the terms and

          conditions of employment  when no valid impasse existed;  and (4)

          respondents violated    8(a)(3) and (1) by locking out employees,

          and using replacements, in  furtherance of its tainted bargaining

          position.   The court  further concluded  that the  standards for

          issuance  of a  preliminary  injunction were  met, and  that such

          relief  was just  and proper  to preserve  the NLRB's  ability to

          provide meaningful relief in the underlying unfair labor practice

                              
          ____________________

          3   The ALJ  issued a decision on  June 13, 1995.   The ALJ found
          that respondents  committed various unfair labor  practices, many
          of which  are relevant to  the issues  in this appeal.   We  take
          judicial notice of the ALJ's decision.    

                                         -4-














          action.   Finally,  the court found  reasonable cause  to believe

          that  MPR and ConAgra, Inc., are joint employers for the purposes

          of labor relations.

                    The  district  court  issued  a  temporary  injunction,

          pending  a final  resolution  by the  NLRB  of the  unfair  labor

          practice action,  directing the  employer, upon request,  to: (1)

          meet and bargain with  the union; (2) restore  working conditions

          which  existed prior to October 28, 1993, and maintain them until

          the parties  bargain in good faith to  an agreement or an impasse

          on  the  changes;  (3)  provide  the  union  with  all  requested

          information necessary and relevant for collective bargaining; and

          (4) reinstate  locked out or terminated  employees.  Respondents'

          motion for a stay pending appeal was denied by the district court

          on  March 6, 1995,  and subsequently by  this court  on March 20,

          1995.

                                         II.
                                         II.

                                  STANDARD OF REVIEW
                                  STANDARD OF REVIEW
                                  __________________

                    Section 10(j) of the NLRA  authorizes the NLRB to seek,

          and the United  States district courts  to grant, interim  relief

          pending  the NLRB's resolution of unfair labor practices.  See 29
                                                                     ___

          U.S.C. 160(j).4   In considering  a petition  for interim  relief
                              
          ____________________

          4  Section 10(j) provides:

                      The Board shall have power, upon issuance
                      of a complaint  as provided in subsection
                      (b) of  this  section charging  that  any
                      person  has engaged in  or is engaging in
                      an unfair labor practice, to petition any
                      district court of the United States . . .
                      for   appropriate  temporary   relief  or

                                         -5-














          under    10(j), a  district court must  limit its inquiry  to (1)

          whether the NLRB has shown "reasonable cause" to believe that the

          employer has  committed the  unfair labor practices  alleged, and

          (2) whether injunctive relief  is "just and proper."   See Pye v.
                                                                 ___ ___

          Sullivan  Bros.,  38  F.3d  58, 63  (1st  Cir.  1994) (collecting
          _______________

          cases).   In  determining whether  the NLRB has  shown reasonable

          cause, the district court does not decide whether an unfair labor

          practice  actually  occurred;  rather,  its role  is  limited  to

          determining only whether the NLRB's position is "fairly supported

          by  the evidence."    Id. (quoting  Asseo  v. Centro  M dico  del
                                __            _____     ___________________

          Turabo, 900 F.2d 445,  450 (1st Cir. 1990)).  The  district court
          ______

          does  not resolve contested issues of  fact, deferring instead to

          the NLRB's version of the facts if they are "within  the range of

          rationality."    Maram  v. Universidad  Interamericana  de Puerto
                           _____     ______________________________________

          Rico, Inc.,  722 F.2d 953,  958 (1st Cir.  1983).  We  review the
          __________

          district court's conclusion that reasonable cause exists only for

          clear error, and  examine its decision to grant  equitable relief

          only  for abuse  of discretion.   Sullivan Bros., 38  F.3d at 63;
                                            ______________

          Centro M dico del Turabo, 900 F.2d at 450.
          ________________________

                                         III.
                                         III.

                                      DISCUSSION
                                      DISCUSSION
                                      __________

                    A.  Duty to Disclose Financial Information
                    A.  Duty to Disclose Financial Information
                        ______________________________________
                              
          ____________________

                      restraining  order.   Upon the  filing of
                      any such  petition the court  shall cause
                      notice thereof  to  be served  upon  such
                      person,   and    thereupon   shall   have
                      jurisdiction to  grant to the  Board such
                      temporary relief or restraining  order as
                      it deems just and proper.

                                         -6-














                    Sections  8(a)(5) and (d) of the NLRA make it an unfair

          labor practice for an employer to refuse to bargain in good faith

          with its employees' representative.  29 U.S.C.    158(a)(5), (d).

          One  element of  the duty to  bargain in  good faith  is that the

          employer must,  upon request, supply  relevant information needed

          by the  union "for the  proper performance of  its duties  as the

          employees'  bargaining representative."   Detroit  Edison  Co. v.
                                                    ____________________

          NLRB, 440  U.S. 301, 303  (1979); NLRB  v. Acme Indus.,  385 U.S.
          ____                              ____     ___________

          432, 435-36 (1967); Soule Glass and Glazing Co. v. NLRB, 652 F.2d
                              ___________________________    ____

          1055,  1092 (1st  Cir. 1981).   The  purpose of  this rule  is to

          "enable the  [union] to understand and  intelligently discuss the

          issues  raised in  bargaining."   Soule Glass,  652 F.2d  at 1092
                                            ___________

          (quoting San Diego  Newspaper Guild  v. NLRB, 548  F.2d 863,  866
                   __________________________     ____

          (9th Cir.  1977)).   Information  relating to  wages, hours,  and

          other  terms  and  conditions   of  employment  is  presumptively

          relevant and necessary for the union  to perform its obligations.

          Teleprompter  Corp. v. NLRB, 570 F.2d  4, 8 (1st Cir. 1977); F.A.
          ___________________    ____                                  ____

          Bartlett Tree Expert Co., Inc., 1995 WL 238413, *2 (NLRB).
          ______________________________

                    No such  presumption exists with  respect to  financial

          data.  Because of  the sensitive nature of a  company's financial

          data,  the  general rule  is that  such  information need  not be

          disclosed  unless the  bargaining  representative  first makes  a

          showing that "it is specially  relevant to the bargaining  taking

          place."    Teleprompter  Corp.,  570  F.2d  at  8  (citing  Int'l
                     ___________________                              _____

          Woodworkers v. NLRB, 263 F.2d 483 (D.C. Cir. 1959) (Burger, J.)).
          ___________    ____

          If  the employer itself puts profitability into issue by claiming


                                         -7-














          an  inability  to pay  an increase  in  wages, however,  then the

          financial information is presumptively relevant to the bargaining

          process,  and  the  employer  is  required  to  substantiate  its

          economic  condition.  NLRB v. Truitt Mfg. Co., 351 U.S. 149, 152-
                                ____    _______________

          53 (1955);  Teleprompter Corp. v. NLRB,  570 F.2d 4, 7  (1st Cir.
                      __________________    ____

          1977).   The Supreme Court  has explained the  rationale for this

          rule as follows:

                      Good    faith   bargaining    necessarily
                      requires  that  claims  made   by  either
                      bargainer should be  honest claims.  This
                      is  true about  an asserted  inability to
                      pay  an increase  in wages.   If  such an
                      argument is important  enough to  present
                      in the give and take of bargaining, it is
                      important  enough to require some sort of
                      proof of its accuracy.

          Truitt Mfg., 351 U.S. at 152-53.5  
          ___________

                    Circuit   courts   interpreting   Truitt    have   long
                                                      ______

          distinguished  between  cases  in  which an  employer  claims  an

          inability to pay the  requested wage increase and those  in which

          the employer  maintains that  complying with the  union's request

          would place it at a competitive disadvantage, ordering disclosure

          in the former but denying  it in the latter.  See, e.g.,  NLRB v.
                                                        ___  ____   ____

          Harvstone Mfg.  Co., 785 F.2d,  575-89 (7th Cir.),  cert. denied,
          ___________________                                 ____________

          479  U.S. 821 (1986); Buffalo Concrete,  276 N.L.R.B. 839 (1985),
                                ________________

          enfd.,  803 F.2d 1333 (4th Cir. 1986).   In two recent cases, the
          _____

                              
          ____________________

          5    The court  also stressed  that  the right  to  disclosure in
          inability-to-pay cases was not automatic: "Each case must turn on
          its particular facts.  The inquiry must always  be whether or not
          under  the circumstances  of  the particular  case the  statutory
          obligation to bargain in good faith has been met."  Id. at 153-54
                                                              __
          (footnote omitted).

                                         -8-














          NLRB  recognized, and  elaborated  upon the  parameters of,  this

          dichotomy.

                    In Nielsen Lithographing  Co., 305 N.L.R.B. 697,  enfd.
                       __________________________                     _____

          sub nom Graphic  Communications Int'l Union,  Local 508 v.  NLRB,
          _______ _______________________________________________     ____

          977 F.2d 1168 (7th Cir. 1992), the NLRB held that a mere claim of

          competitive disadvantage  does not compel an employer to open its

          financial records to a union.  The NLRB explained:

                         The  employer  who  claims  a  present
                      inability    to  pay,  or  a  prospective
                      inability  to pay  during the  life of  a
                      contract  being  negotiated  is  claiming
                      essentially  that  it  cannot  pay.    By
                      contrast,  the  employer who  claims only
                      economic difficulties  or business losses
                      or  the prospect  of  layoffs  is  simply
                      saying that it does not want to pay.

                         We  do not say that claims of economic
                      hardship  or  business   losses  or   the
                      prospect of layoffs can never amount to a
                      claim of inability to pay.   Depending on
                      the   facts   and   circumstances  of   a
                      particular   case,   the   evidence   may
                      establish that the employer  is asserting
                      that the economic problems have led to an
                      inability to pay or will do so during the
                      life  of  the  contract being  negotiated
                      . . . .  The distinction has  always been
                      between claims of 'cannot' and will not."

          Nielsen, 305 N.L.R.B. at 701.  Thus,  under Nielsen,  an employer
          _______                                     _______

          must disclose financial information to the  union if the employer

          has asserted that it "cannot pay" wage increases, but need not do

          so if it has asserted only that it "will not pay" wage increases.

                    In The Shell Company, 313 N.L.R.B. 133 (1993), 1993  WL
                       _________________

          491815,  the NLRB made explicit  what was implicit  in Nielsen --
                                                                 _______

          namely,  that the critical inquiry in  the "cannot pay"/"will not



                                         -9-














          pay" distinction  is the  substance of the  employer's bargaining
                                    _________

          position, not the formal words used by the employer.

                    In Shell, the employer consistently stated that "it was
                       _____

          not pleading poverty or inability to pay in the negotiations, but

          was  simply  adopting a  firm position  in  order to  become more

          competitive in the short run and in the future."  Id. at *6.  The
                                                            __

          NLRB nevertheless concluded:

                      Although   the   [company]  referred   to
                      economic disadvantages it had in relation
                      to other competitors, . . . the testimony
                      reveals  that the  essential core  of the
                      [company's]   bargaining  posture   as  a
                      whole,  as expressed  to  the Union,  was
                      grounded  in  assertions  amounting to  a
                      claim  that  it  could  not  economically
                      afford  the most  recent contract  at its
                      Airport operation, that it was faced with
                      a  present  threat  to   that  operations
                      survival, and that,  therefore, it was at
                      present unable  to pay those terms in the
                      successor contract.

          Id.  at *1.   See  also  New York  Printing  Pressmen and  Offset
          __            _________  ________________________________________

          Workers Union  No. 51 v. NLRB,  538 F.2d 496, 500  (2d Cir. 1976)
          _____________________    ____

          ("So long as the Employer's refusal reasonably interpreted is the

          result  of  financial inability  to  meet  the employees'  demand

          rather than  simple unwillingness to do so, the exact formulation

          used by the Employer in conveying this message is immaterial."). 

                    The facts upon which the NLRB relied in Shell were that
                                                            _____

          the   employer's  bargaining   representative   told  the   union

          negotiator  during negotiations for the new collective bargaining

          agreement that  (1) economic conditions had  affected the company

          "very badly,  very seriously";  (2) present circumstances  at the

          company's  Airport  were  "bad,"   "critical"  and  a  matter  of

                                         -10-














          "survival";  and (3) the company was losing business, had lost an

          important customer,  and was  facing serious regulatory  and cost

          problems.  He also said: "we are telling you this because we need

          your  help,  your assistance,  because  of this  condition."   In

          addition,  the  NLRB  found  it  significant  that  the  employer

          expressly referred to steps  it had already taken to  address the

          threats to  its survival; namely, that it had put a hiring freeze

          on  all management  and  employee positions,  and implemented  an

          early retirement plan.  Id.
                                  __

                    Based on these statements, the ALJ concluded:

                         The Company's situation at the Airport
                      was  continually described  as "critical"
                      and  a matter  of  "survival."   Critical
                      certainly denotes a degree of  urgency or
                      crisis,  and  when  used  with  survival,
                      denotes a situation in medical terms that
                      would indicate the patient is in imminent
                      danger of  dying, or  in the case  of the
                      Airport  operation, closing  down.   I do
                      not think a reasonable person  could hear
                      Respondent's representatives describe the
                      airport situation as  critical and one of
                      survival,  and  believe  that  they  were
                      speaking of some  event that might  occur
                      at some point three  years or more in the
                      future.

          Id. at *31.
          __

                    The district court found  the instant action similar to

          Shell.     The   court  concluded   that   "[w]hile   Respondents
          _____

          continuously reiterated  that they needed  to remain  competitive

          and denied claiming inability to pay, the 'essential core' of its

          bargaining posture was  in effect  that it could  not afford  the

          terms  of the successor contract."  The district court based this

          conclusion  upon the  substance  of the  message communicated  by

                                         -11-














          respondents  to the  union  over the  course  of the  four  month

          bargaining period.   In particular, the district  court noted the

          following allegations by the NLRB.  

                    During the first bargaining session, the negotiator for

          respondents spoke  of the difficult situation  facing the company

          and  stated "if  we  don't take  immediate  measures there  is  a

          probability that we won't  be here in the future."   Respondents'

          negotiator  also suggested  that ConAgra,  Inc., was  considering

          closing  the mill in Puerto  Rico and bringing  in flour directly

          from the  United States.   In addition,  respondents' negotiators

          made the  following statements  during the course  of bargaining:

          (1) "The situation is a serious one and fragile."; (2) "If we are

          not  competitive we cannot survive.";  (3) "Things like this [the

          need  to eliminate the  granting of a soap  bar to employees] are

          what  makes us not competitive vis- -vis the other and could make

          us have  to close shop because  we cannot compete."; and  (4) "We

          see the  situation as quite  risky because of  our ability  to be

          competitive."  The  court also found it  significant that, during

          negotiations, respondents told the union that it was necessary to

          significantly reduce  the number  of employees,  and then,  a day

          after it declared  impasse, told the union that it had decided to

          lay-off forty employees (almost  30% of the unit) because  of its

          economic position.   

                    Based on the  foregoing, the district court  determined

          that  the NLRB  had shown  reasonable cause  to believe  that the

          employer had committed an unfair labor practice by not disclosing


                                         -12-














          the requested  financial information.   As noted  previously, the

          district court's role in this matter was not to determine whether

          an  unfair labor  practice  actually occurred,  but to  determine

          whether  the   NLRB's  position  is  "fairly   supported  by  the

          evidence."  Sullivan Bros., 38 F.3d at 63 (quoting Centro M dico,
                      ______________                         _____________

          900 F.2d  at 450).  On  this record, we cannot  conclude that the

          district court's conclusion was clearly erroneous.

                    Moreover,  we  think  our  conclusion,   reached  after

          independently reviewing the record, is confirmed by the fact that

          the ALJ,  who held  a hearing  and took  evidence  on the  NLRB's

          allegations,  concluded that the  respondents violated    8(a)(5)

          and  (1)  by refusing  to provide  the  union with  the requested

          financial  information.   Specifically,  the ALJ  found that  the

          facts of the  instant case  "fall closer to  Shell than  Nielsen,
                                                       _____       _______

          thereby bringing it 'within the gravitational field of Truitt.'"
                                                                 ______

                    Respondents'  most compelling  argument  on  appeal  is

          that,   during   the   bargaining   process,   their  negotiators

          consistently used  the phrase  "long term" when  discussing MPR's

          prospects  for survival.   The difficulty  with this  argument is

          that the proposed  agreement under negotiations was  for a period

          of five  years.  While it  might be argued that  the phrase "long

          term"  implies a time more than five  years hence, it can just as

          persuasively be argued that to most workers -- as opposed to, for

          example, a corporate executive in charge of strategic planning --

          "long  term"  suggests  next year,  the  year  after,  etc.   The

          question  under Neilsen and Shell is whether the "essential core"
                          _______     _____


                                         -13-














          of the employer's  bargaining position  amounts to a  claim of  a

          present  inability to pay, or  of a prospective  inability to pay
                                     ______________________________________

          during the life  of a  contract being negotiated.   Neilsen,  305
          ________________________________________________    _______

          N.L.R.B.  at 701; Shell, 1993 WL 491815,  at *1-2.  We cannot say
                            _____

          that  the district court's  conclusion in this  regard is clearly

          erroneous.   See Shell, 1993  WL 491815, *31  ("I do not  think a
                       ___ _____

          reasonable   person   could  hear   Respondent's  representatives

          describe the airport  situation as critical and one  of survival,

          and  believe that  they were  speaking of  some event  that might

          occur at some point three years or more in the future.").6

                    B.  Impasse
                    B.  Impasse
                        _______

                    An employer violates    8(a)(1) and (5) of the NLRA by
                                                                       

          unilaterally  changing  a condition  of  employment  that is  the

          subject of negotiations, or refusing to negotiate  on a mandatory

          bargaining topic.  NLRB v. Katz,  369 U.S. 736, 743 (1962).  "The
                             ____    ____

          principle  exception to  this rule  occurs when  the negotiations

          reach  an impasse: when impasse  occurs, the employer  is free to

                              
          ____________________

          6  Pursuant to the district  court order, the parties have agreed
          to  a confidentiality  agreement  with respect  to the  financial
          information.  This agreement moots many of respondents' arguments
          with respect to the  financial information.  Moreover,  we reject
          respondents' contention  that it was excused  from disclosing the
          information during  negotiations  because the  union  resisted  a
          confidentiality agreement.   The record as a whole indicates that
          respondents' willingness to disclose the information, subject  to
          a confidentiality agreement, was tied to its  insistence that the
          union first  demonstrate the relevancy of the  documents, and its
          rejection  of  the union's  assertion  that  the information  was
          relevant  to substantiate  respondents'  assertion  that  it  was
          unable  to pay the increased wages.   Thus, even if the union had
          agreed  to a  confidentiality agreement,  respondents' would  not
          have disclosed  the information  because it rejected  the union's
          relevancy showing.          

                                         -14-














          implement changes in employment terms unilaterally so long as the

          changes  have  been  previously   offered  to  the  union  during

          bargaining."   Bolton-Emerson, Inc. v.  NLRB, 899  F.2d 104,  108
                         ____________________     ____

          (1st Cir. 1990) (quoting  Huck Mfg. v. NLRB, 693  F.2d 1176, 1186
                                    _________    ____

          (5th  Cir.  1982)).   An impasse  exists  when, after  good faith

          bargaining,  "the  parties are  deadlocked  so  that any  further

          bargaining  would be futile."  Id. (citing Gulf States Mfg., Inc.
                                         __          ______________________

          v. NLRB, 704 F.2d 1390, 1398 (5th Cir. 1983)).  
             ____

                    We have upheld, as  not clearly erroneous, the district

          court's finding  of reasonable cause to  believe that respondents

          had a duty  to disclose the requested  financial information, and

          that their failure  to do so constituted a  failure to bargain in

          good faith with the union in violation of   8(a)(5)  of the NLRA.

          See  Truitt, 351 U.S.  at 152-53  (employer's refusal  to produce
          ___  ______

          financial  records  to substantiate  claim  of  inability to  pay

          increased wages may support finding of failure to bargain in good

          faith); Teleprompter, 570 F.2d  at 8 n.2 (noting that  Truitt has
                  ____________                                   ______

          become "widely  accepted" as establishing an  "automatic" rule of

          disclosure in inability  to pay cases).  See also  Katz, 369 U.S.
                                                   ________  ____

          at 747  (rejecting contention  that a  finding of  subjective bad

          faith is a prerequisite  to a conlusion that employer  violated  

          8(a)(5)).   The district court  found reasonable cause to believe

          that  respondents' failure  to  bargain in  good faith  precluded

          valid impasse from occurring.  Cf. New York Printing, 538 F.2d at
                                         __  _________________

          501 (there can be no genuine impasse where employer has failed to

          bargain  in good faith by refusing to disclose properly requested


                                         -15-














          financial information); NLRB v. Palomar Corp., 465 F.2d 731,  735
                                  ____    _____________

          (5th  Cir.  1972) (no  valid  impasse  because, "in  refusing  to

          disclose  their  financial records  to  the  Union, [respondents]

          failed to bargain in good faith as required by" the NLRA).  Based

          on the foregoing considerations, we conclude that this finding is

          not clearly erroneous.

                    C.  The Unilateral Changes in Conditions
                    C.  The Unilateral Changes in Conditions
                        ____________________________________
                        of Employment and the Lockout
                        of Employment and the Lockout
                        _____________________________

                    An  employer violates  its bargaining  obligation under

             8(a)(1) and (5) if, without  having negotiated to impasse,  it

          unilaterally  changes  its  employees'  terms  or  conditions  of

          employment.   Katz, 369 U.S. at 743.   The district court in this
                        ____

          case  found   reasonable  cause  to  believe   that  respondents'

          implemented the following  unilateral changes: alteration of  the

          form of employee payment  from cash to check; refusal  to provide

          employees with  contractual Thanksgiving turkey,  and the payment

          of accrued  vacation time;  termination of medical  plan coverage

          for locked out employees; and a lay-off of forty employees.  With

          exception  of the  last question,  see infra  n.2, each  of these
                                             ___ _____

          findings is "fairly supported by the evidence," see Centro M dico
                                                          ___ _____________

          del Turabo, 900 F.2d at 450, and therefore not clearly erroneous.
          __________

          Because  we uphold  the  district court's  finding of  reasonable

          cause  to believe that impasse did  not exist, we also uphold its

          finding  of  reasonable   cause  to  believe   that  respondents'

          unilateral  changes to  the  terms and  conditions of  employment

          violated   8(a)(5).



                                         -16-














                    There is  no dispute that respondents  locked-out their

          employees  and hired  replacement  workers.   The district  court

          found reasonable cause to believe that the purpose of the lockout

          was  to  compel  acceptance  of  respondents' tainted  bargaining

          position (i.e.,  its failure  to disclose the  properly requested

          financial information), and  therefore found reasonable  cause to

          believe that the lockout, and use of replacements, constituted an

          unfair labor practice.

                    The district  court properly recognized that  a lockout

          motivated by  an employer's desire to bring  economic pressure to

          bear in support  of its legitimate bargaining  posture is lawful.

          See  American Shipbuilding  Co.  v. NLRB,  380  U.S. 300,  312-13
          ___  __________________________     ____

          (1965).   The  district court  also recognized,  however,  that a

          lockout with a proscribed purpose is illegal.  See id. at 313 (to
                                                         ___ __

          find  that lockout  violates    8(a)(3) NLRB  must find  that the

          employer acted for a "proscribed purpose").

                    The  disagreement  that led  to  the  lockout concerned

          wages.  We have upheld the district court's finding of reasonable

          cause  to  believe  that  the  sticking  point  was  respondents'

          insistence that it could not pay increased wages, and its illegal

          refusal to  substantiate this claim.   Thus,  the district  court

          found reasonable cause to  believe that the lockout in  this case

          was  motivated by  respondents'  desire to  compel acceptance  of

          their  illegally  tainted  bargaining  position.    There  is  no

          question  that  a lockout  under  such  circumstances violates   

          8(a)(3) of  the NLRA.  See, e.g.,  American Cyanamid Co. v. NLRB,
                                 ___  ____   _____________________    ____


                                         -17-














          592 F.2d 356,  364 (7th Cir. 1979); Movers  &amp; Wrhsemen's Ass'n v.
                                              __________________________

          NLRB, 550 F.2d  962, 966  (4th Cir. 1977);  NLRB v. Bagel  Bakers
          ____                                        ____    _____________

          Council, 434 F.2d 884,  888-89 (2d Cir.), cert. denied,  402 U.S.
          _______                                   ____________

          908 (1970); NLRB v. Southern Beverage Co., 423 F.2d 720 (5th Cir.
                      ____    _____________________

          1970).  We therefore conclude  that the district court's  finding

          of reasonable cause with  respect to the lockout was  not clearly

          erroneous.

                    D.  Joint Employers
                    D.  Joint Employers
                        _______________

                    The district  court found  reasonable cause  to believe

          that  MPR and  ConAgra,  Inc., are  joint  employers.   "A  joint

          employer relationship  exists where  two or more  employers exert

          significant  control over  the  same employees  and share  or co-

          determine  those matters governing essential terms and conditions

          of employment."  Holyoke  Visiting Nurses Ass'n v. NLRB,  11 F.3d
                           ______________________________    ____

          302,  306 (1st  Cir.  1993)    (citing  Rivas  v.  Federaci n  de
                                                  _____      ______________

          Asociaciones Pecuarias de Puerto Rico, 929  F.3d 814, 819-20 (1st
          _____________________________________

          Cir. 1991)).   See also  Boire v. Greyhound Corp.,  376 U.S. 473,
                         ________  _____    _______________

          481 (1964); NLRB v. Browning-Ferris  Indus., Inc., 691 F.2d 1117,
                      ____    _____________________________

          1124 (3d Cir. 1982). 

                    In Holyoke  Nurses  and  Rivas,  this  court  favorably
                       _______________       _____

          acknowledged   a  host  of  factors  used   by  other  courts  in

          determining the existence  of joint employer status.  See Holyoke
                                                                ___ _______

          Nurses, 11 F.3d at 306; Rivas, 929 F.2d at 820-21.  Those factors
          ______                  _____

          include:  supervision of  the  employees' day-to-day  activities;

          authority to  hire, fire,  or discipline employees;  authority to

          promulgate  work  rules,  conditions  of  employment,  and   work


                                         -18-














          assignments;  participation in the collective bargaining process;

          ultimate power  over changes  in employer  compensation, benefits

          and  overtime; and authority over  the number of  employees.  See
                                                                        ___

          W.W.  Granger, Inc. v. NLRB,  860 F.2d 244,  247 (7th Cir. 1988);
          ___________________    ____

          Clinton's Ditch Cooperative Co. v. NLRB, 778 F.2d 132, 138-39 (2d
          _______________________________    ____

          Cir.  1985), cert. denied, 479  U.S. 814 (1986);  Ref-Chem Co. v.
                       _____ ______                         ____________

          NLRB, 418 F.2d 127, 129 (5th Cir. 1969).
          ____

                    Whether joint  employer status exists is  essentially a

          factual  question.   Holyoke Nurses, 11  F.3d at  306.   As noted
                               ______________

          previously,  in the  context of  a    10(j) petition  for interim

          relief, the district  court does not resolve  contested issues of

          fact, but instead defers  to the NLRB's  version of the facts  if

          they  are "within the range of rationality."   Maram, 722 F.2d at
                                                         _____

          958.  

                    In  this case, the district  court found that  MPR is a

          wholly owned subsidiary of  ConAgra, uses its logo,  holds itself

          out to the public as a ConAgra enterprise, and has some directors

          who also  hold positions at ConAgra.   The court  also found that

          the impetus for  respondents' decision to  seek wage and  benefit

          cuts   in  the  new  bargaining  session  was  a  change  in  the

          organizational structure of ConAgra,  pursuant to which MPR would

          be  part  of more  than sixty  companies  known as  ConAgra Grain

          Processing Company, and subsequently be compared to them.

                    Significantly,  the court  found  that ConAgra's  Vice-

          President of  Human  Resources, Raymond  Godbout ("Godbout")  was

          responsible  for the  negotiation  strategy utilized  during  the


                                         -19-














          bargaining sessions, and acted throughout as an advisor to  MPR's

          negotiator.   Moreover,  the  court found  that Godbout  actively

          participated  in the  bargaining  sessions, and  on one  occasion

          stated to the union  representative: "what I would like  to do is

          go back to my people  and talk with the persons at  the corporate

          level . . .  .  See if we  can sharpen the pencil and  present to

          you what our position is."  In addition, the court found that the

          drug policy proposed during negotiations was the same policy used

          by ConAgra at its other plants, and that MPR's employees have the

          same  pension plan  as  that of  ConAgra  employees.   The  court

          further found  that, after  the lockout,  Godbout became  the "de

          facto  spokesperson" for  the  respondents, and  that  henceforth

          ConAgra was  determining labor policies for  MPR through Godbout.

          The court also found that, after the lockout, replacement workers

          were provided and paid by ConAgra.

                    Based  on these  factors,  the  court found  reasonable

          cause to believe MPR and ConAgra are joint employers for purposes

          of the pertinent collective bargaining negotiations.  The court's

          factual  findings are  "fairly  supported by  the evidence,"  see
                                                                        ___

          Sullivan  Bros., 38  F.3d at  63, and  its finding  of reasonable
          _______________

          cause is not clearly erroneous.

                    E.  The Preliminary Injunction
                    E.  The Preliminary Injunction
                        __________________________

                    The district court properly  recognized and applied the

          test for  determining whether interim relief is "just and proper"

          under   10(j).  The determination of whether injunctive relief is

          just  and proper hinges  upon whether the  NLRB has demonstrated:


                                         -20-














          (1) a likelihood of success on the merits; (2) the potential  for

          irreparable injury in the absence of relief; (3) that such injury

          outweighs any harm preliminary injunctive relief would inflict on

          the  employer; and (4) that  preliminary relief is  in the public

          interest.   Sullivan  Bros., 38  F.3d at  58 (collecting  cases).
                      _______________

          When, as in this case, the  interim relief sought by the NLRB "is

          essentially the  final relief  sought, the likelihood  of success

          should be strong."  Id. (quoting Asseo v. Pan American Grain Co.,
                    ______    __           _____    ______________________

          805 F.2d 23, 25 (1st Cir. 1986)).

                    It  is  well settled  that  "we  scrutinize a  district

          court's decision to grant or  deny a preliminary injunction under

          a relatively  deferential glass."   Feinstein v.  Space Ventures,
                                              _________     _______________

          Inc., 989 F.2d 49,  51 (1st Cir. 1993) (quoting Independent Oil &amp;
          ____                                            _________________

          Chem. Workers of Quincy, Inc.  v. Proctor &amp; Gamble Mfg. Co.,  864
          _____________________________     _________________________

          F.2d  927, 929 (1st Cir.  1988)).  Unless  the district court has

          made  a mistake  of law  or abused  its discretion,  we will  not

          disturb  its decision.   See  Sullivan Bros.,  38 F.3d  at 63-64;
                                   ___  ______________

          Feinstein, 989 F.2d at 51. 
          _________

          With  these principles  in mind, we  review the  district court's

          decision that interim relief under   10(j) was just and proper.

                    The district court plainly did not abuse its discretion

          in finding a strong likelihood that the  NLRB will succeed on the

          merits  of  its  unfair  labor   practice  claims.    The   court

          meticulously  and comprehensively  applied the  appropriate legal

          standards to  the NLRB's  allegations.  Respondents  challenge to

          the  district  court's finding  in this  regard  is limited  to a


                                         -21-














          rehash of their arguments that the court clearly erred in finding

          reasonable cause on  each of the alleged  unfair labor practices.

          Contrary to respondents' arguments, the district court's findings

          are amply supported by both the record and pertinent case law.

                    The district court found the potential for  irreparable

          injury  in the absence of interim relief because of the potential

          effect of the large  scale employee lockout on union  support and

          the union's  ability  to bargain  effectively  on behalf  of  its

          employees.   The court  specifically found  that the  lockout had

          already caused an  erosion in  union support.   Erosion of  union

          support cannot be  remedied by  the NLRB's ultimate  order.   See
                                                                        ___

          Centro M dico, 900 F.2d at 454; Asseo v. Pan American Grain  Co.,
          _____________                   _____    _______________________

          805 F.2d 23, 26-27 (1st Cir. 1986).  Moreover, we  agree with the

          district  court that the  fact that the lockout  in this case was

          directed to  "the entire  work force"  increases  the chances  of

          irreparable  harm.  See Maram, 722 F.2d  at 959.  In this regard,
                              ___ _____

          the  court  specifically  found  that  respondents'  conduct  had

          already  caused many employees to  be in arrears  on their loans,

          which consequently damaged  their credit.   We find  no abuse  of

          discretion in the court's finding  of a potential for irreparable

          harm.

                    Nor  do  we find  abuse  of discretion  in  the court's

          determination that the very real danger that the union would lose

          support  because  of  unfair  labor practices  committed  by  the

          employer,  combined  with  the   actual  financial  harm  to  the

          employees,   outweighs  any   harm  which   granting  preliminary


                                         -22-














          injunctive relief may cause the employer.  Cf. Centro M dico, 900
                                                     __  _____________

          F.2d at 454.  Respondents argue that, if they are required to end

          the  lockout and  reinstate  employees at  their former  wage and

          benefit  levels,  their   "market  share  could well  deteriorate

          further."   Respondents  stress that  this would  be particularly

          harmful if the NLRB later rules in their favor.  The first answer

          to  this argument  is that  we have  already upheld  the district

          court's  determination that there is a strong likelihood that the

          NLRB  will  not rule  in respondents'  favor.   This  finding, of

          course, informs our  balancing of  the harms, and  points in  the

          direction  opposite  to  that  urged  by  respondents.    Second,

          respondents'  unsupported  assertions  regarding loss  of  market

          share amount to nothing more than bald speculation.  Finally, our

          resolution  of the first  three factors  leads to  the conclusion

          that the district court  did not abuse its discretion  in finding

          that the public interest  will be furthered by imposition  of the

          interim  injunctive relief.   Given the high  number of employees

          effected by  the lockout,  cf. Maram,  722 F.2d at  960, and  the
                                     __  _____

          potential that interim  relief will have  the salutary effect  of

          strengthening the bargaining process, see Centro M dico, 900 F.2d
                                                ___ _____________

          at 455, the public interest in preliminary relief appears strong.

          Contrary  to respondents'  assertions, we  do not  find  that the

          length of time between the filing of charges by the union and the

          NLRB's application  for interim was, under  the circumstances, so

          unreasonable as to significantly  undercut the public interest in

          preliminary relief.


                                         -23-














                                         IV.
                                         IV.

                                      CONCLUSION
                                      CONCLUSION
                                      __________

                    Interim injunctive relief under    10(j) is appropriate

          to  restore  the status  quo "when  the  circumstances of  a case

          create a reasonable apprehension that the efficacy of the Board's
                 _________________________

          final order  may be  nullified, or the  administrative procedures

          will  be rendered meaningless."   Centro M dico, 900  F.2d at 455
                                            _____________

          (quoting Angle v.  Sacks, 382  F.2d 655, 660  (10th Cir.  1967)).
                   _____     _____

          The  district court  did not  clearly err  in finding  reasonable

          cause   to   support  the   Regional  Director's   position  that

          respondents'  committed  unfair labor  practices.    Nor did  the

          district court  abuse its  discretion in concluding  that interim

          injunctive relief was just and proper.  The order of the district

          court is therefore affirmed.  Costs to appellee.
                             affirmed.
                             ________

            
























                                         -24-









